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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Robert Duncan
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                               )   Case No.: 2:12-cr-00255-GEB
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                 Plaintiff,                  )   STIPULATION AND ORDER FOR
                                               )   CONTINUANCE OF JUDGMENT AND
10       vs.                                   )   SENTENCING AND MODIFICATION
     MATTHEW ROWAN DAVIES, et al.,             )   OF SCHEDULE FOR PSR
11                                             )
                   Defendants.                 )
12                                             )
13
14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for March 22, 2013, at 9:00 a.m. is continued to June
16   7, 2013, at 9:00 a.m. in the same courtroom. The continuance is requested because
17   defense counsel needs additional time to prepare for the Pre-Sentence Report (PSR).
18   Richard Bender, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
19   attorney, agree to this continuance.
20
21   IT IS SO STIPULATED.
22
     DATED: March 20, 2013                          By:    /s/ Thomas A. Johnson
23                                                         THOMAS A. JOHNSON
                                                           Attorney for Defendant
24                                                         ROBERT DUNCAN
25
     DATED: March 20, 2013                                 BENJAMIN B. WAGNER
26                                                         United States Attorney
27                                                   By:   /s/ Thomas A. Johnson for
                                                           RICHARD BENDER
28                                                         Assistant United States Attorney



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 1   IT IS SO ORDERED.
 2
     Date: 3/20/2013
 3
                                                  ___________________________________
 4                                                GARLAND E. BURRELL, JR.
                                                  Senior United States District Judge
 5   DEAC_Signature-END:




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                                      IN THE UNITED STATES DISTRICT COURT
27
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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 1
                                                     )   Case No.: 2:12-cr-00255-GEB
 2   UNITED STATES OF AMERICA,                       )
                                                     )
 3                  Plaintiff,                       )   MODIFICATION OF SCHEDULE FOR
                                                     )   PRE-SENTENCE REPORT AND FOR
 4       vs.                                         )   FILING OF OBJECTIONS TO THE PRE-
     MATTHEW ROWAN DAVIES, et al.,                   )   SENTENCE REPORT
 5                                                   )
                    Defendants.                      )
 6                                                   )
 7
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
 8                                               this Court.

 9   Judgment and Sentencing date:                                June 7, 2013
10
     Reply or Statement                                           May 31, 2013
11
     Motion for Correction of the Pre-Sentence
12   Report shall be filed with the court and                     May 24, 2013
13   served on the Probation Officer and opposing
     counsel no later than:
14
     The Pre-Sentence Report shall be filed with
15   the court and disclosed to counsel no later                  May 17, 2013           __
16   than:

17   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    May 10, 2013
18   Probation Officer and opposing counsel
19   no later than:

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